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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



Mon Cheri Bridals, LLC                        )
                                              )
v.                                            )       Case No. 21-cv-5202
                                              )
THE PARTNERSHIPS and                          )       Judge: Hon. Harry D. Leinenweber
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A,”                   )       Magistrate: Hon. Heather K. McShain
                                              )
                                              )



             AGREED MOTION FOR EXTENSION OF TIME TO RESPOND

        Plaintiff Mon Cheri Bridals, LLC, with the agreement of Defendant’s Counsel, seeks

entry of a 14-day extension of time to respond to the Defentant’s Motion and Incorporated

Memorandum of Law for Fees and Costs [Docket #40], which is currently due on January 7,

2022.

        Unforeseen delays due to the holiday and the on-going Covid outbreak have necessitated

additional time to draft a response to the Defendant’s motion, and the parties are also entering

settlement discussions. The parties believe a 14-day extension is in the best interest of the parties

and the court.

        Plaintiff accordingly asks the court for a 14-day extension to respond until January 21,

2022, by which time the Plaintiff shall file it’s response in opposition of the motion.


Dated this 4th Day of January, 2022.          Respectfully submitted,
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                                  By:      s/David Gulbransen/
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